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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 ERIC SWALWELL,                                   )
                                                  )
        Plaintiff,                                )   No. 21-cv-586-APM
                                                  )
 v.                                               )
                                                  )
 DONALD J. TRUMP, DONALD J. TRUMP                 )
 JR., MO BROOKS, RUDOLPH GIULIANI,                )
                                                  )
        Defendants.                               )
                                                  )

  [PROPOSED] ORDER DENYING PETITION TO CERTIFY DEFENDANT MO
BROOKS WAS ACTING WITHIN THE SCOPE OF HIS OFFICE OR EMPLOYMENT

       Before the Court is Defendant Mo Brooks’s Petition to Certify Defendant Mo Brooks

was Acting Within the Scope of His Office or Employment, ECF No. 20. After full briefing, and

careful consideration thereof, the Court concludes Defendant Brooks failed to establish that he

was acting within the scope of his office or employment at the time of the incidents out of which

Plaintiff’s claims arose. The Court therefore DENIES the Petition.

       IT IS SO ORDERED.



                                             ______________________________________
                                             Amit P. Mehta
                                             United States District Court Judge




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